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       1                    UNITED STATES DISTRICT     O~JRT.                                       t

       2                   CENTRAL DISTRICT OF CALI ~RNX•A~'                   a                    rp
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       3             HONORABLE EDWARD RAFEEDIE JUD E` ..       F~x~~ p~~~G .~~ ~              r~r~ s~;
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       4                                                                -    r,y.~,x.~...,~.: _~        _...




           UNITED STATES OF AMERICA,

                            Plaintiff,

      8              vs.                         Case No. CR-87-422-ER

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      LO
           RAFAEL CARO-QUINTERO, et al.,
                                                        O RIGINAL
                            Defendants.




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      15               REPORTER'S TRANSCRIPT OF PROCEEDINGS

      16                       LOS ANGELES, CALIFORNIA

     17                       MONDAY, DECEMBER 21, 1992

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     22                         MARY TUCKER, CSR 9308
                               Official Court Reporter
     23                         429-D U.S. Courthouse
                               312 North Spring Street
     24                       Los Angeles, Calif. 90012
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          L   APPEARANCES:




          3      For the Plaintiff:

                   TERREE A. BOWERS
                   United States Attorney
                   ROBERT BROSIO
                   Assistant United States Attorney
                   Chief, Criminal Division
                   JOHN CARLTON
          7        Assistant United States Attorney
                   MANUEL MEDRANO
          3        Special Assistant United States Attorney
                   312 North Spring Street
          3        Los Angeles, California 90012

      1

     1          For the Defendant:

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     1c            JEFFER, MANGELS, BUTLER & MARMARO
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                   Los Angeles, California 90067
     1~■                  - and -
                   EDWARD M. MEDVENE
     1             JACK R. LUELLEN
                   MITCHELL, SILBERBERG & KNUPP
     17            11377 West Olympic Boulevard
                   Los Angeles, California 90064
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         1   LOS ANGELES, CALIFORNIA; MONDAY, DECEMBER 21, 1992; 2:30 PM

         Z                               (Jury in)

         3               THE COURT:   Let the record show that the defendant

         4   and all counsel are present.

         5               Ladies and gentlemen of the jury, I understand

         6   from your note that you have reached a verdict in this

         7   case?

         B            Mr. Foreman --

         9            JUROR HERMOSILLO:      Yes, sir.

     10                  THE COURT:   -- have you signed and dated the

     11      verdict form and filled in all the necessary blanks?

     12               JUROR HERMOSILLO:      Yes, I have.

     13               THE COURT:      All right.   Please hand your verdict

     14      form to the clerk.

     15               The Court will receive and deliver the verdict of

     1       the jury.

     17               United States of America, plaintiff, v. Ruben

     18      Zuno-Arce, defendant.     Verdict:    Case number CR-87-422-ER,

     19      We, the jury, in the above-entitled cause of action find

     20      the defendant Ruben Zuno-Arce guilty as charged in Count

     21      Three of the 7th Superseding Indictment, guilty as charged

     22      in Count Four of the 7th Superseding Indictment, guilty as

     23      charged in Count Six of the 7th Superseding Indictment, and

     24      guilty as charged in Count Seven of the 7th Superseding

     c5      Indictment.
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         1            Dated December 21, 1992 at Los Angeles,

         2   California, and signed by the foreman of the jury, Mr.

         3   Hermosillo.

         4            Ladies and gentlemen of the jury, are these

         5   verdicts that I have just presented and read the individual

         6   verdicts of each and every one of you?

         7            (All jurors answer in the affirmative.)

         B            THE COURT:    Counsel, the jurors all indicate that

         9   it is their individual verdicts.       Do you wish to have the

     10      jury poled?

     11               MR. MEDVENE:    Yes, I do, Your Honor.

     12               THE COURT:    Ladies and gentlemen of the jury, when

     13      your name is called if the verdicts that I have just

     14      presented and read represent your own individual verdicts,

     15      please say yes.   If not, please answer no.

     16              Mark Hermosillo?

     11              JUROR HERMOSILLO:       Yes.

     1~              THE COURT:    James Lytle?

     1a              JUROR LYTLE:     Yes.

     2~              THE COURT:    Dale Goddard?

     2L              JUROR GODDARD:    Yes.

     2               THE COURT:    Rosemary Wollman?

     23              JUROR WOLLMAN:    Yes.

     2~              THE COURT:    Dennis Trani?

     25              JUROR TRAM:     Yes.
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         1              THE COURT:   Sharalyn Fearn?

         2              JUROR FEARN:     Yes.

         3              THE COURT:   Gregory Foster?

         4              JUROR FOSTER:     Yes.

         5              THE COURT:   Niall Moynihan?

         6              JUROR MOYNIHAN:     Yes.

         7              THE COURT:   David Rubin?

         ~              JUROR RUBIN:     Yes.

         a              THE COURT:   Arthur Merrill?

      1~                JUROR MERILL:     Yes.

      11                THE COURT:   Michael Melcher?

      1Z                JUROR MELCHER:     Yes.

      13                THE COURT:   Where are the rest of the cards?    Did

      14     I cover all of you?     I did not get juror number seven.

     1~                 Well, would you state your name, please.

     1~                 JUROR PORTILLO:    Antoinette Portillo.

     17                 THE COURT:   And how do you respond to the Court's

     1       inquiry?

     1a                 JUROR PORTILLO:    Yes.

     2                  THE COURT:   Are these verdicts your verdicts?

     2L                 JUROR PORTILLA:    Yes.

     2. ?               THE COURT:   All right.    Anyone else we missed up

     2. 3    there?   Did we get everyone else?

     2~ ~               The verdicts of the jury are unanimous.    The clerk

     2. 5    will enter the verdicts of the jury on the minutes of the
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       LI   Court.

       Z                The Court will now discharge this jury.

       3                Ladies and gentlemen of the jury, the Court would

       4    like to express its appreciation to you for your hard work

       5    on this case.      You have been a good jury.     You've been

       6    prompt and attentive at every session of the Court, and you

       7    have worked very hard in your deliberations.       The Court is

       B    very grateful to you.     You have done your job and you need

       9    not be concerned about it.       You've made your decision,

      10    which was your job, and you should not be concerned about

     11     the consequences of any decision that you have made.

     12                 You are now excused and discharged from any

     13     further service on this case.

     14                 Now I want to say this to you:   You do not have to

     15     talk to anyone about your participation in this trial.          You

     16     need not do so.     That is entirely up to you.    I recommend

     17     that you do not.

     18                 The Court will excuse you at this time and thank

     19     you very much.

     20                               (Jury out)

     21              THE COURT:'   This matter will be referred to the

     22     Probation Department for investigation and report.       The

     23     time for pronouncement of judgment and imposition of

     24     sentence.    What is the date:

     25              THE CLERK:    February 8, 1993.
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       L             THE COURT:     At what time?

       2             THE CLERK:     4:30 P.M.

       3             MR. MEDVENE:     May we have three weeks for

       4   post-trial motions, Your Honor, until the end of the 3rd

       5   week in January?

       6             THE COURT:     Yes.   Let's have a specific date.

       7             MR. MEDVENE:     If possible, we would file on the

       8   22nd of January.

       9             MR. MEDRANO:     Your Honor, we would like at least

     10    two weeks to respond, if that's possible.

     11              THE COURT:     Well, I think you will have two weeks.

     12    You may have two weeks to respond.       The hearing, if any,

     13    will be on the date set for sentencing.

     14              MR. MEDRANO:    And at this time, Your Honor, we

     15    would respectfully ask the Court for an order.        The Court

     16    may recall at the last trial --

     77              THE COURT:    I am going to make the order myself.

      8              I'm going to order that no counsel or

      9    representatives of counsel, either directly or indirectly,

      0    contact any of these jurors without prior permission from

      1    the Court upon a showing of need or cause.

      2              MR. MEDRANO:    Thank you, Your Honor.

      3              THE COURT:   Is that clear to everybody?      No

      4    counsel, no representatives, directly or indirectly.

      5              All right.   Is there anything further at this
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              time?

         2              MR. MEDRANO:     Not by the government, Your Honor.

         3              MR. MEDVENE:   Thank you.

         4                       (Proceedings adjourned)

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         6             I, MARY TUCKER, CSR, do hereby certify that

         7            the foregoing transcript is true and correct.

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     i1               MARY TU   R, CSR                           DATE

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